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 5
     Counsel for
 6   VICTOR S. HALTOM
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9               IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12   THE UNITED STATES OF             )               CR. S-99-433 WBS
     AMERICA,                         )
13                                    )               ORDER
                Plaintiff,            )
14                                    )
     v.                               )
15                                    )
     MINH HUYNH, et al.,              )
16                                    )
                                      )
17              Defendants.           )
     ________________________________ )
18
19          GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Victor S. Haltom
20   shall file a response to this court’s order to show cause on or before January 25, 2006.
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22   DATE: December 22, 2005
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